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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                              CASE NO. 5:18cr5-RH

JERRY LEWIS, JR.,

          Defendant.
__________________________________/


                         ORDER DENYING THE MOTION
                            TO ATTEND FUNERAL


         The defendant Jerry Lewis, Jr. pleaded guilty to possessing a firearm as a

convicted felon. He was adjudicated guilty and is awaiting sentencing. He has been

detained since his arrest.

         Mr. Lewis wishes to attend his mother’s funeral and has moved for an order

requiring the Marshals Service to take him there. Mr. Lewis does not ask for

release. The motion does not give the date of the funeral, but Mr. Lewis’s attorney

has advised the courtroom deputy clerk that the funeral will occur on Saturday,

May 26, 2018—the day after tomorrow. Mr. Lewis has offered to pay—that is, to

have relatives pay—the cost the Marshals Service would incur to keep Mr. Lewis

in detention while taking him to the funeral.




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         The Bail Reform Act allows release of a person who is awaiting sentencing

and whose guideline range will recommend a term of imprisonment—as will be

true for Mr. Lewis—only if “the judicial officer finds by clear and convincing

evidence that the person is not likely to flee or pose a danger to the safety of any

other person or the community if released.” 18 U.S.C. § 3143(a). I cannot make

that finding for Mr. Lewis. He cannot properly be released. And even if I had

discretion to release Mr. Lewis, I would exercise that discretion not to do so. The

circumstances of this offense indicate that Mr. Lewis poses a danger to the

community.

         Perhaps recognizing that he cannot meet the standard for release under the

Bail Reform Act, Mr. Lewis asks instead to remain in detention but to be taken to

the funeral by the Marshals Service. Taking prisoners into the community can

properly be done in some circumstances but poses a risk and consumes Marshals

Service resources that ordinarily can be better devoted to other tasks. Missing

important events is an unfortunate collateral consequence of a federal sentence—

or, as here, of federal detention prior to sentencing. Even if I could properly order

the Marshals Service to take Mr. Lewis to the funeral—not an obvious

proposition—I would exercise my discretion not to do so.

         For these reasons,

         IT IS ORDERED:



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         The emergency motion to be escorted to the funeral, ECF No. 54, is denied.

         SO ORDERED on May 24, 2018.

                                        s/Robert L. Hinkle
                                        United States District Judge




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